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 6 Attorneys for Plaintiff African Owl
   Shipping Co. Ltd. as owner pro hac
 7 vice of the M/V AFRICAN OWL
 8                             UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11 African Owl Shipping Co. Ltd. as            Case No.
   owner pro hac vice of the M/V
12 AFRICAN OWL (IMO 9701255),
13                Plaintiff,                   COMPLAINT PURSUANT TO
                                               FEDERAL RULES OF CIVIL
14     v.                                      PROCEDURE, RULE 22
15 Tiryaki Shipping FZE, a foreign entity      IN ADMIRALTY
   organized under the laws of the United
16 Arab Emirates, Tiryaki Holding A.S., a
   foreign entity organized under the laws
17 of the Republic of Turkey, TOI
   Commodities SA, a foreign entity
18 organized under the laws of
   Switzerland, Sunrise Foods
19 International Inc., a foreign entity
   organized under the laws of Canada,
20 Caprock Land Co., a New Mexico
   corporation, Whitechart Ltd. a foreign
21 entity organized under the laws of
   Belize.
22
                 Defendants.
23
24
25                             COMPLAINT IN INTERPLEADER
26          Plaintiff, African Owl Shipping Co. Ltd. (“African Owl”), by and through its
27 undersigned counsel, Collier Walsh Nakazawa LLP, present its Complaint in
28 Interpleader, Declaratory and Injunctive Relief pursuant to Federal Rule of Civil
                                           1
                          COMPLAINT IN INTERPLEADER
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                                                                   1 Procedure (“FRCP”), Rule 22 in order to determine the proper owner of cargo as
                                                                   2 described in paragraphs 12, 35, and 38 and recovery of expenses payable to African
                                                                   3 Owl. African Owl alleges as follows:
                                                                   4                                       PARTIES
                                                                   5        1.     African Owl Shipping Co. Ltd., a Bahamian company organized under
                                                                   6 the laws of the Bahamas with its principal place of business in the Bahamas is the
                                                                   7 bareboat owner of the M/V AFRICAN OWL (a bulk carrier vessel registered under
                                                                   8 the laws of the Bahamas bearing IMO # 9701255) (the “Vessel”).
                                                                   9        2.     Upon information and belief, Tiryaki Shipping FZE (“Tiryaki Shipping”
                                                                  10 or “Charterer”) is an entity organized under the laws of the United Arab Emirates
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                                                                  11 whose principal place of business is Dubai, UAE and at all relevant times was the
                             One World Trade Center, Suite 1860
                               Long Beach, California 90831




                                                                  12 Time Charterer of the M/V AFRICAN OWL pursuant to the Charter Party agreement
                                 Telephone (562) 317-3300




                                                                  13 with disponent owner MUR Shipping BV.
                                                                  14        3.     Upon information and belief, Tiryaki Denizcilik Hizmetlerie Ticaret AS
                                                                  15 is an agent of Tiryaki Shipping and is an entity organized under the laws of the
                                                                  16 Republic of Turkey with a principal place of business in Gaziantep, Turkey.
                                                                  17        4.     Upon information and belief, Tiryaki Holding A.S. is an entity organized
                                                                  18 under the laws of the Republic of Turkey with a principal place of business in
                                                                  19 Gaziantep, Turkey.
                                                                  20        5.     Upon information and belief, TOI Commodities SA (“TOI”) is an entity
                                                                  21 organized under the laws of Switzerland and whose principal place of business is
                                                                  22 Geneva, Switzerland.
                                                                  23        6.     Upon information and belief, Whitechart Ltd. is an entity organized
                                                                  24 under the laws of Belize with a principal place of business in Belize City, Belize.
                                                                  25        7.     Upon information and belief, Sunrise Foods International Inc. is an entity
                                                                  26 organized under the laws of Canada with a principal place of business in
                                                                  27 Saskatchewan, Canada.
                                                                  28        8.     Upon information and belief, Caprock Land Co. is a subsidiary of
                                                                                                            2
                                                                                            COMPLAINT IN INTERPLEADER
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                                                                   1 Caprock Grain, an entity organized under the laws of the state of New Mexico with a
                                                                   2 principal place of business in Santa Fe, New Mexico.
                                                                   3                             JURISDICTION AND VENUE
                                                                   4         9.     This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1335 as this
                                                                   5 dispute is in admiralty involving goods shipped pursuant to bills of lading across
                                                                   6 international waterways and into the navigable waters of the United States for delivery
                                                                   7 into the United States, the ownership of which is now disputed among the Defendants
                                                                   8 named herein.
                                                                   9         10.    These claims are admiralty or maritime claims as defined in FRCP 9(h)
                                                                  10 and are cognizable under the admiralty or maritime jurisdiction of this Court pursuant
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                                                                  11 to 28 U.S.C. § 1333.
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                               Long Beach, California 90831




                                                                  12         11.    Venue is proper in this federal district court under 28 U.S.C. § 1391(b)(2)
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                                                                  13 as the cargo that is the subject of this interpleader action is located at or near the Port
                                                                  14 of Stockton, California and therefore is, found within this judicial District.
                                                                  15                      CAUSE OF ACTION IN INTERPLEADER
                                                                  16         12.    On or about January 31, 2022, the vessel M/V AFRICAN OWL
                                                                  17 (“Vessel”) served as the ocean carrier for a shipment of 12,700 metric tons of soybean
                                                                  18 meal (the “Cargo”) loaded in the port of Samsun, Turkey and destined for the Port of
                                                                  19 Stockton, California.
                                                                  20         13.    Cargo loading onto the Vessel commenced on January 31, 2022 and was
                                                                  21 completed on or about February 5, 2022.
                                                                  22         14.    The Cargo, as a foodstuff, is believed to be highly perishable and must
                                                                  23 be stored in appropriate conditions to avoid deterioration.
                                                                  24         15.    The Vessel is operated by Plaintiff African Owl and is under time charter
                                                                  25 to MUR Shipping BV who sub-chartered the Vessel to Defendant Tiryaki Shipping
                                                                  26 by agreement dated January 17, 2022 (the “Time Charter”). Declaration of Ellen E.
                                                                  27 McGlynn in Support of Plaintiff African Owl Shipping Co. Ltd.’s Complaint in
                                                                  28 Interpleader (“McGlynn Decl.”) Exhibit A.
                                                                                                             3
                                                                                           COMPLAINT IN INTERPLEADER
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                                                                   1         16.   Under the Time Charter, Tiryaki Shipping’s performance is guaranteed
                                                                   2 by Tiryaki Holding A.S.
                                                                   3         17.   On completion of the Cargo's loading, the Vessel’s Chief Mate issued a
                                                                   4 receipt confirming the amount of cargo loaded and the date of its completion (the
                                                                   5 “Mate's Receipt”). McGlynn Decl. Exhibit B.
                                                                   6         18.   According to the Time Charter, African Owl provided written
                                                                   7 authorization to the Charterer to issue bills of lading for the Cargo upon the issuance
                                                                   8 of the Mate's Receipt. McGlynn Decl. Exhibit A at ¶¶ 8, 53.
                                                                   9         19.   According to the Time Charter, Charterer guaranteed to MUR Shipping
                                                                  10 BV that only one set of bills of lading would be present, traded, or otherwise in
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                                                                  11 circulation. Id.
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                               Long Beach, California 90831




                                                                  12         20.   The Vessel is outside the Port of Stockton and is expected to berth on
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                                                                  13 April 1, 2022. McGlynn Decl. at ¶ 10.
                                                                  14         Tiryaki Bills of Lading
                                                                  15         21.   Tiryaki Shipping agent Tiryaki Denizcilik Hizmetlerie Ticaret AS,
                                                                  16 issued bills of lading for the Cargo dated February 5, 2022 (“Tiryaki BOLs”).
                                                                  17 McGlynn Decl. Exhibit C.
                                                                  18         22.   According to the Tiryaki BOLs, the Vessel was to carry “CERTIFIED
                                                                  19 ORGANIC SOYBEAN MEAL IN BULK” from Samsun, Turkey to Stockton,
                                                                  20 California in an amount totaling 12,700 metric tons. Id.
                                                                  21         23.   African Owl first saw the Tiryaki BOLS on March 22, 2022.
                                                                  22         24.   According to the Tiryaki BOLs, the Cargo was to be delivered into the
                                                                  23 possession of Sunrise Foods International Inc. and are named as the notifying party,
                                                                  24 the party to be notified when a shipment arrives at its destination. Id.
                                                                  25         Whitechart Bills of Lading
                                                                  26         25.   On March 21, 2022, while the Vessel was underway on the voyage which
                                                                  27 would ultimately bring Cargo to the Port of Stockton, African Owl’s insurer received
                                                                  28 a message from Defendant TOI (the “TOI Message”). TOI alleged that it was the true
                                                                                                           4
                                                                                          COMPLAINT IN INTERPLEADER
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                                                                   1 owner of the Cargo, and instructed African Owl to stop the Cargo’s transit and not to
                                                                   2 proceed to Stockton and await further instruction. McGlynn Decl. Exhibit D.
                                                                   3        26.    Upon questioning and subsequent exchanges, TOI asserted that it
                                                                   4 purchased the Cargo and received bills of lading dated February 1, 2022 signed by an
                                                                   5 entity named Whitechart Ltd. (the “Whitechart BOLs”). McGlynn Decl. Exhibit E.
                                                                   6        27.    Upon information and belief, Whitechart Ltd. is believed to be a related
                                                                   7 entity of Charterer.
                                                                   8        28.    Upon information and belief, VTB appeared to procure the issuance of
                                                                   9 the Whitechart BOLs from Charterer on February 1, 2022, prior to receiving
                                                                  10 authorization to issue bills of lading. Charterer has not adequately addressed this
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                                                                  11 issuance and correspondence representing the same.
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                               Long Beach, California 90831




                                                                  12        29.    Upon information and belief, VTB Bank is a Russian state-owned bank
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                                                                  13 headquartered in various Federal districts of Russia. It is currently under Western
                                                                  14 sanctions related to actions in Ukraine.
                                                                  15        30.    The Whitechart BOLs indicate the Vessel is to carry 12,700 metric tons
                                                                  16 of “NON-GMO SOYBEAN MEAL (ORGANIC) IN BULK” from Samsun, Turkey
                                                                  17 to Stockton, California.
                                                                  18        31.    The Whitechart BOLs indicate that the Cargo is to be delivered to
                                                                  19 Caprock Land Co. and are named as the notify party.
                                                                  20        32.    In addition to the Whitechart BOLs, African Owl has been provided with
                                                                  21 additional bills of lading signed by Whitechart Ltd. purporting to involve cargo
                                                                  22 carried aboard the Vessel (“Additional Stockton BOLs”) and a related vessel the M/V
                                                                  23 FLORINDA (“WHITECHART FLORINDA BOLs”), including goods loaded in
                                                                  24 Giresun, Turkey and Bandirma, Turkey. McGlynn Decl. Exhibits F, G.
                                                                  25        33.    The Additional Stockton BOLs and the WHITECHART FLORINDA
                                                                  26 BOLs are similar to the Whitechart BOLs in that they are signed by Whitechart Ltd.,
                                                                  27 with the intended recipient being Caprock Land Co. Id.
                                                                  28        34.    The Additional Stockton BOLs purport to involve shipments of
                                                                                                           5
                                                                                            COMPLAINT IN INTERPLEADER
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                                                                   1 3,010.530 metric tons of “RAPESEED MEAL IN BULK,” 7,516.080 metric tons of
                                                                   2 “YELLOW PEAS IN BULK,” and 5,451.3 metric tons of “SUNFLOWER SEEDS
                                                                   3 CAKE IN BULK” onboard the Vessel loaded at the ports of Bandirma, Turkey and
                                                                   4 Giresun, Turkey to be discharged in “Stockton, USA.” McGlynn Decl. Exhibit F.
                                                                   5        35.    The WHITECHART FLORINDA BOLs purport to involve shipments
                                                                   6 of 5,890.7 metric tons of “NON-GMO SOYBEAN (ORGANIC) IN BULK” and
                                                                   7 21,900 metric tons of “NON-GMO CORN (ORGANIC) IN BULK” on board the M/V
                                                                   8 FLORINDA loaded at the port of Giresun, Turkey to be discharged in one of four
                                                                   9 listed ports in either the Gulf of Mexico or the Eastern seaboard. McGlynn Decl.
                                                                  10 Exhibit G.
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                                                                  11        36.    The “Consignee” on the Additional Whitechart BOLs is SBERBANK
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                               Long Beach, California 90831




                                                                  12 (SWITZERLAND) AG, an entity which may be related to various sanctioned
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                                                                  13 institutions as designated by the Office of Foreign Assets Control of the United States
                                                                  14 Department of the Treasury. McGlynn Decl. Exhibit F.
                                                                  15        37.    The Additional Stockton BOLs list goods of similar description as those
                                                                  16 provided on the Tiryaki BOLs, including “CERTIFIED ORGANIC RAPESEED
                                                                  17 MEAL,” “ORGANIC SUNFLOWER MEAL, PELLETIZED IN 277 BIGBAGS,”
                                                                  18 and “ORGANIC YELLOW PEAS IN BULK.” McGlynn Decl. Exhibit C.
                                                                  19        Disputed Ownership
                                                                  20        38.    Upon consultation with Charterer, Tiryaki Shipping informed African
                                                                  21 Owl that it was unaware of the Whitechart BOLs, they were not authentic, and were
                                                                  22 not controlling over the Tiryaki BOLs.
                                                                  23        39.    African Owl thereafter informed TOI that it could not trust the
                                                                  24 authenticity of the Whitechart BOLs, particularly since certain Whitechart BOLs
                                                                  25 were seemingly issued before the Cargo was loaded on the Vessel.
                                                                  26        40.    In response, TOI asserted that the Whitechart BOLs were the result of a
                                                                  27 multi-party transaction which began upon the instruction of an employee at a related
                                                                  28 Tiryaki entity.
                                                                                                          6
                                                                                              COMPLAINT IN INTERPLEADER
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                                                                   1         41.    African Owl is not able to determine, nor responsible for deciding, which
                                                                   2 of the competing bills of lading are operative for purposes of the Cargo’s ownership
                                                                   3 or delivery.
                                                                   4         42.    By reason of the conflicting bills of lading, African Owl is in doubt as to
                                                                   5 delivery of said Cargo and payment of Cargo and expenses related thereto.
                                                                   6         43.    African Owl requests a hearing on an expedited schedule because of the
                                                                   7 highly perishable nature of the subject Cargo and its need to offload it from the Vessel
                                                                   8 so that the Defendants can resolve their dispute before this Court without further
                                                                   9 interfering with the Vessel’s schedule.
                                                                  10         44.    At present, the Vessel is scheduled to commence discharge operations
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                                                                  11 on April 1, and discharge the subject Cargo in Stockton, California on April 5, 2022.
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                               Long Beach, California 90831




                                                                  12         45.    African Owl is informed and believes that the Cargo is perishable and
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                                                                  13 risks deterioration the longer it is held in the Vessel’s holds and that discharge into an
                                                                  14 appropriate facility is needed to limit the Cargo's inherent perishability.
                                                                  15         47.    African Owl is arranging for a bonded warehouse in Stockton, CA to
                                                                  16 serve as substitute custodian to safely store the Cargo while the Court determines the
                                                                  17 proper owner of the Cargo and will promptly advise the Court and interested parties
                                                                  18 of its discharge location.
                                                                  19
                                                                  20                                 PRAYER FOR RELIEF
                                                                  21         THEREFORE, Plaintiff requests that:
                                                                  22         (a)    An order be issued by this Court permitting Plaintiff to discharge the
                                                                  23                subject Cargo into a bonded warehouse in Stockton, California as
                                                                  24                scheduled for April 5, 2022;
                                                                  25         (b)    A judgement be entered that the Defendants be required to interplead and
                                                                  26                settle among themselves their alleged rights to the Cargo and such other
                                                                  27                cargo aboard the Vessel whose ownership the Defendants may dispute;
                                                                  28         (c)    Each Defendant be restrained from commencing any action against
                                                                                                              7
                                                                                             COMPLAINT IN INTERPLEADER
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                                                                   1             Plaintiff as it regards discharge, delivery or ownership of the Cargo or
                                                                   2             any other disputed cargo aboard the Vessel;
                                                                   3       (d)   Each Defendant be enjoined from arresting or attaching the Vessel or
                                                                   4             any of Plaintiff's assets and, without limitation, any vessel owned and/or
                                                                   5             operated by Plaintiff, in reference to the subject matter of this action as
                                                                   6             it would be wrongful and without basis in law or fact while the present
                                                                   7             forum offers a proper venue for redress of all claims for all concerned;
                                                                   8       (e)   That Plaintiff be released from all liabilities and expenses which may be
                                                                   9             demanded upon African Owl by virtue of any delay, stoppage of
                                                                  10             delivery, discharge, storage and the like, including costs, fees, and
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                                                                  11             reasonable attorney’s fees and expenses in this action; and
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                               Long Beach, California 90831




                                                                  12       (f)   An award of any other and further relief as this Court deems just and
                                 Telephone (562) 317-3300




                                                                  13             proper.
                                                                  14
                                                                  15
                                                                  16 Dated: April 1, 2022                COLLIER WALSH NAKAZAWA LLP
                                                                  17
                                                                  18                                     By:         /s/ Ellen E. McGlynn
                                                                  19
                                                                                                               Ellen E. McGlynn
                                                                  20                                           Zachary J. Farley
                                                                  21                                           Attorneys for Plaintiff African Owl
                                                                                                               Shipping Co. Ltd.
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                                                                                            COMPLAINT IN INTERPLEADER
